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8
                                UNITED STATES DISTRICT COURT
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                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                             OAKLAND DIVISION
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                                                        Case No. 4:24-CV-04722-YGR
12   ELON MUSK, et al.,
                                                        Honorable Yvonne Gonzalez Rogers
13                                  Plaintiffs,
                                                        [PROPOSED] ORDER GRANTING
14          v.                                          MOTION FOR LEAVE TO FILE BRIEF OF
                                                        AMICUS CURIAE KATHLEEN JENNINGS
15   SAMUEL ALTMAN, et al.                              IN HER CAPACITY AS THE ATTORNEY
                                                        GENERAL FOR THE STATE OF
16                                  Defendants.         DELAWARE
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        [PROPOSED] ORDER GRANTING MOTION TO FILE AMICUS BRIEF - CASE NO: 4:24-CV-04722-YGR
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1           Before the Court is the Motion of Kathleen Jennings in her capacity as the Attorney

2    General for the State of Delaware for permission to file an amicus curiae brief regarding

3    Plaintiffs’ motion for a preliminary injunction.

4           Having considered the pleadings and good cause appearing, the above-listed amici’s

5    Motion is hereby GRANTED and it is hereby ORDERED that the brief attached to that Motion

6    shall be deemed filed in the above-captioned case.

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8    IT IS SO ORDERED.
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10            January 2, 2025
     Dated: _________________________
                                                   __________________________________
11                                                 The Honorable Yvonne Gonzalez Rogers
                                                   United States District Judge
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        [PROPOSED] ORDER GRANTING MOTION TO FILE AMICUS BRIEF - CASE NO: 4:24-CV-04722-YGR
